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                           UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

DR. THOMAS HUBBARD, PhD.                                     §
  Plaintiff,                                                 §
                                                             §
                                                             §
v.                                                           §                  CA NO. 1:20-cv-00767-RP
                                                             §
SARAH ALLEN BLAKEMORE; and                                   §                  JURY DEMANDED
JOHN DOES 1 – 10,                                            §
  Defendants.                                                §

       Defendant Sarah Allen Blakemore’s Motion for Summary Judgment
        Sarah Allen Blakemore (“Defendant” or “Blakemore”) files this Motion for Summary

Judgment. In support, Blakemore would respectfully show the court as follows:

                                      I.       Summary Judgment Evidence

Exhibit A — Flyer
Exhibit B — Affidavit of Colin Guy
Exhibit B-1 — Video of Hubbard speaking at 2011 American Philological Association 1
Exhibit C — Introduction to Special Issue on “Boys’ Sexuality and Age of Consent”
Exhibit D — Wikipedia Edit Request
Exhibit E — Bryn Mawr Classical Review
Exhibit F — Sexual Consent and the Adolescent Male, or What Can We Learn from the
             Greeks?
Exhibit G — NAMBLA Webpage
Exhibit H — Dallas Morning News Op-Ed

                                                  II.     Introduction

1.      Plaintiff Thomas Hubbard (“Plaintiff” or “Hubbard”) is a professor in the Classics

Department at the University of Texas seeking to silence a former student through a libel lawsuit

brought over what fundamentally is a difference of opinion. The law does not afford Hubbard the




1
 A flash drive containing the video is being contemporaneously mailed to the Court per the Clerk’s instructions.
The video may be viewed at https://www.youtube.com/watch?v=SV5BzhxQnHs
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relief he seeks and his attempt to stifle criticism through misuse of the legal system should be

rejected through summary judgment denial of his claims.

2.      Hubbard’s libel claims are based on a flyer Blakemore circulated at the University of Texas

voicing her opinions about Hubbard’s academic writings on the sexual relationships between adult

men and young boys in antiquity and what Blakemore views as an endorsement for allowing

similar practices to occur in the modern era. 2 Exhibit A. The gist of Blakemore’s flyer is that she

finds the subject of Hubbard’s scholarship objectionable and she therefore encourages others to

join in calling for his removal from the University of Texas’ faculty. In Blakemore’s opinion, a

professor opposed to age of consent laws and who lends his imprimatur to a group like NAMBLA

is not fit to serve at the University of Texas and while Hubbard is entitled to disagree, he is not

entitled to recover damages from Blakemore for expressing these opinions. Blakemore’s flyer,

taken as a whole, is an expression of her opinions and opinions are not a valid basis for a

defamation claim.

                                    III.     Arguments and Authorities

3.      This lawsuit should not focus on the difference between a “pedophile” and a “pederast”, or

the propriety of relationships between adult men and adolescent boys, as Hubbard would have it.

What this lawsuit is truly about is a professor at a public university seeking to silence a student

who had the temerity to disagree with him and such an assault on the freedom of speech should

never be sanctioned. Blakemore does not agree with Hubbard’s view that prohibiting adults from

engaging in sexual relationships with minors is harmful; that is her opinion and defamation law is



2
  Hubbard’s complaints are primarily focused on the contents of Blakemore’s flyer, although he does also make
reference to a quote from Blakemore in the December 4, 2019 edition of the Austin American Statesman in which she
expressed that she does not believe it is appropriate for teachers to promote breaking the law. This statement, like
those in the flyer, is an expression of Blakemore’s opinion and each of the arguments asserted herein in connection
with the flyer apply with equal force to any libel or slander claim based on the foregoing quote and are incorporated
herein by reference.

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not intended to prevent the free expression of opinions. On the contrary, in New York Times Co. v.

Sullivan, the United Supremes Court heralded the “profound national commitment to the principle

that debate on public issues should be uninhibited, robust, and wide-open, and that it may well

include vehement, caustic, and sometimes unpleasantly sharp attacks. . .” N.Y. Times Co. v.

Sullivan, 376 U.S. 254, 270, 84 S. Ct. 710, 721 (1964).

4.     Blakemore’s flyer expresses her uninhibited opinions based on a subjective interpretation

of Hubbard’s teachings. Blakemore’s opinions on this subject are not defamatory as a matter of

law. Neely v. Wilson, 418 S.W. 3d 52, 62 (Tex. 2013). To be actionable, a statement must assert

an objectively verifiable fact rather than an opinion. Id. Whether a statement is an assertion of fact

or opinion is a question of law for the court to decide. Id. In distinguishing between opinions and

facts, courts have considered factors such as: the common usage of the specific language and

whether or not it has a precise, well understood meaning or if it is indefinite and ambiguous; the

statement’s verifiability; the entire context of the publication; and whether the writing is in the

nature of commentary or presented as “hard” news. Yiamouyiannis v. Thompson, 764 S.W.2d 338,

341 (Tex. App.—San Antonio 1988) (applying the Ollman analysis), citing Ollman v. Evans, 242

U.S. App. D.C. 301, 750 F.2d 970, 974-75 n. 6 (D.C. Cir. 1984). Each of the foregoing

considerations favors finding that the flyer was an expression of Blakemore’s opinions and is

therefore not actionable.

5.     Even when what is asserted as a factual statement is false, such a statement is not

defamatory if “the truth about the person would injure their reputation just as much as the allegedly

defamatory statement” and for this reason Hubbard’s hair-splitting distinction between

“pederasty” and “pedophilia” is an irrelevant distraction. Johnson v. Phillips, 526 S.W.3d 529, 535

(Tex. App.—Houston [1st Dist.] 2017). In determining whether a publication is defamatory, courts



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must be “mindful that [they] consider each gist and passage in the context. . . as a whole, not in a

vacuum.” Id. at 539. When the contents of the flyer are viewed as a whole, the age-based

distinction Hubbard seeks to draw between “pedophilia” and “pederasty” is immaterial. The flyer

specifies that Blakemore finds Hubbard’s academic writings objectionable and even specifies one

such work, BOYS’ SEXUALITY AND AGE OF CONSENT, by name. The flyer therefore provides ample

context from which readers may readily discern that Blakemore is opposed to what she perceives

as Hubbard advocating for lowering the age of consent in his academic product, which Blakemore

finds objectionable regardless of what specific age Hubbard may believe a minor is capable of

consenting to sex with an adult man.

     A.) Blakemore’s opinions based on her subjective beliefs about Hubbard’s teachings are
         not the valid basis for a defamation claim.

6.      Blakemore’s opinions are not actionable. The statements in the flyer should not be viewed

in isolation, but within the context of the entire publication and surrounding circumstances, from

which it follows that the flyer is intended only as condemnation of what Blakemore considers

“Hubbard’s disgusting ideals” and not as an assertion of fact. However, even a line-by-line

analysis, as Hubbard has attempted in his petition, reveals nothing more than the strident opinions

of a student vocalizing her criticism of Hubbard’s academic hobby horse. When a proper analytical

inquiry is applied to the flyer, there are no factors that support a finding that Blakemore’s

statements are anything other than a constitutionally privileged expression of her opinions.

        i.      None of the specific statements identified by Hubbard are false statements of fact,
                but instead expressions of Blakemore’s opinions.

7.      Hubbard first complains about Blakemore’s opinion that Hubbard has been “advocating

for pederasty (pedophilia) for as long as he has taught at the University of Texas.” Plaintiff’s

Original Complaint (“POC”) at p. 2. This statement, the very first sentence in the flyer, provides



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the appropriate context for readers to conclude that Blakemore’s opinions are derived from her

interpretation of Hubbard’s academic writings and lectures. The next sentence refers to Hubbard

using “his position” as a professor and the following sentence refers to “his academic writing.”

Within this context, it is apparent Blakemore’s flyer is an expression of her opinion that Hubbard’s

writings constitute advocacy on behalf of pederasts and/or pedophiles. Hubbard has admitted his

advocacy (and as such, even if the Court were to find this statement was factual in nature, it is

nonetheless true and therefore not defamatory).

8.     At the 2011 annual meeting of the American Philological Association (“APA”), Hubbard

discussed at some length his academic interest in members of NAMBLA, pederasts and pedophiles

and the role he plays as advocate on their behalf. Exhibits B and B-1. In a recorded segment from

the APA meeting, Hubbard states that it is a “moral obligation to speak for those who have no

voice and to raise issues about even the most reviled members of our society, and certainly

pedophiles, in quotation mark, would be among that group. . .” Exhibits B and B-1. What is an

advocate, if not one who, in Hubbard’s own words, speaks for another?

9.     In Hubbard’s INTRODUCTION       TO   SPECIAL ISSUE   ON   “BOYS’ SEXUALITY     AND   AGE   OF

CONSENT”, Hubbard further states that “I argue that legal regimes created to protect or control

girls’ sexuality cannot be transferred to boys’ sexuality without engendering great harm.”

(Emphasis added.) Exhibit C at p. 3. Hubbard, by his own admission, is not playing the role of a

neutral commentator in his writings, but is instead arguing in favor of a particular viewpoint, i.e.

he is engaged in advocacy aimed at legalizing pederasty to prevent “great harm”. In this article,

Hubbard summarizes another of his articles, SEXUAL CONSENT AND THE ADOLESCENT MALE, OR

WHAT CAN WE LEARN FROM THE GREEKS?, by stating that he critically examined “contemporary

American legislative regimes governing adolescent sexuality within a historical perspective” and



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tested “the universalizing assumptions of contemporary discourse against the evidence of a highly

productive and successful social system that incorporated specific social functions for adolescent

male sexuality.” (Emphasis added.) Exhibit C at p. 3.

10.    By characterizing the pederasty practices in Ancient Greece as “highly productive” and

“successful”, Hubbard has expressed his own subjective beliefs that, in Blakemore’s opinion, are

properly characterized as advocacy in favor of such practices. By proposing that age of consent

laws engender “great harm”, Hubbard has, in Blakemore’s opinion, advocated for legal reform that

would permit pederasty to occur. Hubbard’s first complaint is based on Blakemore’s subjective

interpretation of Hubbard’s own opinions and is therefore not actionable. Hubbard’s own

characterization of his role as giving voice to the “most reviled members of our society,” i.e.

pedophiles, suggests Blakemore’s interpretation is informed by Hubbard’s own statements.

11.    Hubbard next objects to the flyer’s statement that Hubbard “used his position to further a

community of individuals hoping to prey on underage boys.” POC at p. 3. This statement

represents Blakemore’s subjective beliefs about the potential effects of Hubbard’s writings.

Hubbard admits his writings have been used by NAMBLA. On November 28, 2019, Hubbard

submitted a request to Wikipedia to have his name removed from a list of individuals associated

with NAMBLA, but in so doing acknowledges he is associated with this group. Exhibit D.

Hubbard notes in this request to Wikipedia that his 2000 book, THE GREEKS AND GREEK LOVE,

was “distributed to some NAMBLA members.” Id. In his submission to Wikipedia, Hubbard also

refers to a 2009 comment he posted on the website for the Bryn Mawr Classical Review, in which

he provides some additional detail on NAMBLA’s distribution of his writings: “My edited

collection GREEK LOVE RECONSIDERED was not ‘published by NAMBLA,’ but the publisher did




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reach an agreement with that group to distribute a few hundred copies through their Topics series.”

Exhibit E.

12.    The copyright page from Hubbard’s book reveals an even more direct connection to

NAMBLA than his statement in the Bryn Mawr Classical Review suggests:




Defendant’s Answer (“DA”), Exhibit C at p. 1.

13.    In addition to confirming that this publication was “published” by NAMBLA through its

Topics 9 series, the copyright notice also refers to Wallace Hamilton Press, which is itself a

NAMBLA “venture”:




Curley v. N. Am. Man Boy Love Ass'n, No. 00-10956-GAO, 2003 U.S. Dist. LEXIS 12488, at *28
(D. Mass. 2003)

14.    For Hubbard to deny that he was “published” by NAMBLA is simply false. He has not

only been published by NAMBLA, but the hostile reproach he directs at NAMBLA’s critics

suggests he is sympathetic to the group’s cause, which could be construed as an indication he has

been acting in furtherance of NAMBLA’s goals. Hubbard complains in this NAMBLA publication

that another scholar’s negative portrayal of pederasty “coincided with the systematic strategy of

mainline, assimilationist gay rights organizations to marginalize any consideration of youth

sexuality or reform in age-of-consent laws and instead present to the public the most unthreatening,


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plain vanilla image of gays and lesbians—average, dull, middle-aged, middle-class couples with

the same bland careers and ‘marriages’ as everyone else.” DA, Exhibit C at p. 5. Hubbard further

complains that the “man-boy love that was acknowledged and even celebrated by early

homosexual activists has been marginalized within our own progressively democratic and

homogenized society, isolated as the province of ‘perverts’ and ‘child molesters,’” and levels the

charge that “gay leaders today sell out their brothers (and in many cases their own repressed

desires) by creating the public fiction that most gays are involved in long-term monogamous age-

and class-equal relationships, and that the only men attracted to teenage boys are a few sickos in

NAMBLA whom they would like to see in prison just as much as straight society does.” DA,

Exhibit C at p. 7.

15.    Blakemore has expressed her opinion that NAMBLA’s adoption of Hubbard’s writings and

Hubbard’s apparent sympathy for the organization’s cause “furthers” NAMBLA’s goals.

Blakemore’s opinion is well-reasoned, as it is reasonable to conclude that an advocacy group like

NAMBLA would promote publications that it considers in furtherance of its goals. Hubbard cannot

prove that NAMBLA’s publicity of his work has not supported its goals and because it is not

possible to objectively verify what precise reason NAMBLA had for including this material in its

Topics series or what effect it had on its readers, Blakemore’s opinion that Hubbard’s writings

“further” this community is not actionable as defamation.

16.    Hubbard next asserts that he has been defamed by the assertion that “[i]n his academic

writing” Hubbard “describes physical relationships between men and young boys as ‘proper

learning experiences’” and by the flyer’s contention that publications such as BOYS’ SEXUALITY

AND AGE OF CONSENT    encourage illicit acts between adults and minors. POC at p. 3. In his article

SEXUAL CONSENT AND THE ADOLESCENT MALE, OR WHAT CAN WE LEARN FROM THE GREEKS?,



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Hubbard asks “[t]o what extent can the evidence of the Greek model [of pederasty] be applicable

to modern Western societies?” Exhibit F at p. 4. In response, he shares his subjective belief that

the “Greek model” suggests that “where age-discrepant relationships are commonplace and

positively reinforced, they cause little or no long-term harm to the younger partner and often confer

great benefit.” Id. Later in this same essay, Hubbard employs a series of rhetorical questions to

express the potential benefits he believes should be available by adopting the “Greek model” and

reforming age of consent laws:




Exhibit F at p. 7.

17.    In the following paragraph, Hubbard states that “we must pose the question whether age of

consent law should necessarily treat underage males and females the same, given the wide variance

in their sexual drives and development” and suggests that “we have set up a legal regime that does

great harm to underage males by suppressing and even punishing the entirely natural and powerful

sexual urges that every male feels at the age of puberty, but cannot always fulfill with partners his

own age. . .” Blakemore has interpreted the foregoing excerpts from Hubbard’s writings and

similar passages as an expression of his belief that pederasty in Ancient Greece is a proper subject

of study, which is in fact the very focus of much of Hubbard’s work. Whether or not his work


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encourages illicit acts is a matter of opinion, but from Hubbard’s suggestion that a “pedagogical

mentorship” with an older individual might not be a “bad idea” and that it is better to “learn by

doing” form an experienced adult as opposed to “blundering, ill-informed teenagers,” Blakemore’s

subjective belief that this commentary encourages illicit behavior rests on a sound foundation.

Whether or not this text actually encourages illicit behavior is not objectively verifiable and, as

such, cannot be the valid subject of a defamation action.

18.    Hubbard argues that the assertion that he is advocating for pederasty is akin to “accusing

someone who proposed reform to United States drug laws as someone who ‘advocates for drug

abuse.’” POC at pp. 4-5. Applying this analogy to Hubbard’s writings cited above, the point

Hubbard seeks to make is blunted. In this analogy, the hypothetical drug law reformist would be

asserting that “as with most other skills, doesn’t one learn by doing [drugs]?” and that studies have

shown that most drug users rate their drug use as “something positive in their development.” It is

difficult to discern how the drug law reformist enticing his audience to “learn by doing drugs” with

the prospect of achieving “something positive in their development” would not be considered an

advocate for drug abuse in this hypothetical.

19.    Hubbard next complains that the flyer refers to a course he taught as the “Mythology of

Rape” instead of “Mythologies of Rape.” POC at p. 3-4. Hubbard speculates that this minor error

was intended to create the false impression that “rape was, in itself, a mythological concept.” No

such statement exists in the flyer. Hubbard further objects that this course was not banned after

one semester, but acknowledges that the “course was actually scheduled to be taught the following

year” but was cancelled because “both his department and he decided that Dr. Hubbard was needed

more to teach a larger enrollment course.” Blakemore is entitled to her conclusion that the course

was banned, as it had been scheduled, was then cancelled, and has not ever been offered again.



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Again, there is no means by which to objectively verify the real reason the class has not been

offered again and as such this statement is not actionable as defamation.

20.    Hubbard also objects to the statement that he is associated with NAMBLA, but again his

own words betray him. POC at p. 4. In the same 2011 APA conference referenced above, Hubbard

told the audience that he not only knows members of NAMBLA, but also that “I regard some of

them as friends.” Exhibits B and B-1. Hubbard proceeded to explain that he has worked to “gain

the trust of those people” so that he can better understand them. Id. As previously discussed, he

also approved dissemination of his work for use in NAMBLA’s Topics series. It is disingenuous

for Hubbard to deny any association with NAMBLA in this Court proceeding while having

previously bragged about his close relationships with NAMBLA members at the APA conference

in 2011. This statement is not actionable as defamation.

21.    Finally, Hubbard complains about the final paragraph of the flyer, which expresses

Blakemore’s opinion that Hubbard’s position on pederasty as not only a worthy topic of study, but

a potentially beneficial practice, is dangerous:




           POC at p. 4.

22.    This paragraph must not be read in isolation, but instead considered within the context of

the entire publication, which itself must be considered within the broader context of Hubbard’s

body of work. In Blakemore’s opinion, Hubbard is advocating to lower the age of consent because

he a) believes such restrictions are harmful to young boys; and b) he believes that a “pedagogical

mentorship” between an adult man and a young boy, which includes sexual contact, is beneficial.

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Age of consent laws exist because society treats minors as incapable of consent, such that any

sexual contact between an adult and a minor is an act of rape and is therefore violent by its very

nature. From Blakemore’s perspective, age of consent laws serve to protect minors from sexual

violence and in her opinion Hubbard is advocating to remove a barrier intended to protect minors

from what is presently considered criminal conduct. Accordingly, these statements are not

actionable under defamation.

       ii.       The four-part Ollman analysis compels a finding that the flyer is an expression of
                 Blakemore’s opinions.

23.    The four-part inquiry set forth in Ollman v. Evans, which Texas appellate courts have

considered a helpful framework for distinguishing opinion from fact, overwhelmingly supports a

finding that the flyer is an expression of Blakemore’s opinions, which are not actionable under

defamation. Generally, this analysis requires examination of the type of language used, whether

the statements are verifiable, the surrounding context and whether the publication is presented as

commentary or as objective “hard” news. Yiamouyiannis v. Thompson, 764 S.W.2d 338, 341 (Tex.

App.—San Antonio 1988). Nothing contained in Blakemore’s flyer supports a finding that it is

anything but a passionate expression of her opposition to the subject matter of Hubbard’s academic

writings and teachings.

24.    The first step of the Ollman analysis requires consideration of whether the words employed

have precise meaning conveying a verifiable fact or are instead indefinite, ambiguous, and

therefore more in the nature of an opinion. Id. In Yiamouyiannis, the Court considered the use of

terms such as “quack,” “hoke artist,” “fearmonger”, and assertions that the plaintiff “lacks solid

credentials” and “expresses incomprehensible mumbo jumbo.” Id. The Court deemed this

language “vintage hyperbole. . . not capable of proof one way or the other.” Id. It concluded that




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the challenged statements were “the speaker’s shorthand way of opining that [the Plaintiff]. . . is

not qualified to instruct the public about fluoridation.”

25.    Blakemore’s flyer similarly challenges the propriety of Hubbard instructing the public

about what, in Blakemore’s opinion, Hubbard considers the virtues of age discrepant relationships.

Blakemore refers to Hubbard’s teachings as “disgusting,” “advocating for pederasty (pedophilia)”,

and opines that he “had no business teaching the leaders of tomorrow.” Exhibit A. Individuals

will differ in what they consider disgusting, what constitutes advocacy as opposed to neutral

commentary, and who should be in the “business” of teaching and on what topics.

26.    Even the language referring to statutory rape as “violent” is not especially precise and there

is room for disagreement as to what constitutes a “violent crime.” In evaluating whether statutory

rape should be considered a crime of violence factored into federal sentencing guidelines, Judge

Richard Posner observed that “from the length of this opinion and the contrary judgment of the

panel majority, it should be apparent that the interpretive issues is a difficult one” and that “we

cannot be certain that we have gotten it right.” United States v. Shannon, 110 F.3d 382, 389 (7th

Cir. 1997). After extensive analysis, Posner concluded that under the circumstances before him,

statutory rape was a violent crime even though there was no indication that force was actually

used. Id. Posner reached this conclusion because sexual relationships between an adult and a minor

pose a risk of injury, in part because minors may lack adequate sexual education and may therefore

be more prone to contracting venereal diseases. Id. at 390. He further noted that certain offenses,

like burglary, are deemed “violent” even though the perpetrator presumably wishes to avoid

encountering other people, but it is a criminal act that nevertheless poses a risk of injury to another.

Language in the flyer referring to “violent crime” should therefore not be considered precise, but




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instead the type of ambiguous language that favors finding that the flyer is an expression of

Blakemore’s opinion.

27.    The Ollman analysis next asks whether the statements are objectively capable of being

proven true or false. Yiamouyiannis 764 S.W.2d at 341. As previously noted, it is not possible to

objectively determine if Hubbard’s work has actually advanced the cause of groups like

NAMBLA; it is not even possible to objectively determine what would constitute “furthering”

NAMBLA’s agenda. NAMBLA’s stated mission includes “building understanding and support

for [age discrepant] relationships,” “educating the general public on the benevolent nature of

man/boy love” and calling for a “fundamental reform of the laws regarding relations between

youths and adults.” Exhibit G. Hubbard’s studies have, by his own admission, sought to better

understand and explain sexual relationships between adults and minors through the lens of Ancient

Greece and he has suggested that age of consent laws should be reconsidered with the benefit of

this historical context. Blakemore believes Hubbard’s work dovetails with NAMBLA’s stated

goals and there is no objective means of proving her wrong. Whether or not Hubbard agrees with

Blakemore’s characterization of his work, Blakemore’s impressions of it are her own and her

expression of her subjective assessment of his work is not actionable under defamation.

28.    The third Ollman factor requires consideration of the entire context of the challenged

publication, “including cautionary language.” Yiamouyiannis, 764 S.W.2d 338 at 341. “Cautionary

language” includes explicit acknowledgment that statements are an opinion, the use of rhetorical

questions and other language of the type to “put the reader on notice that what is being read is

opinion and thus weaken any inference that the author possesses knowledge of damaging,

undisclosed facts” such that “when the reasonable reader encounters cautionary language, he tends

to ‘discount that which follows.’”. Ollman v. Evans, 242 U.S. App. D.C. 301, 750 F.2d 970, 983



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(1984). The flyer is filled with language and phrases that flag it as an expression of opinion and

not verifiable fact. The flyer refers to its stated purpose as a “Rally for the Removal of Dr. Thomas

Hubbard.” A rally, by its very nature, is a public gathering through which a group collectively

states its shared opinion on a particular cause or political point. The flyer is filled with cautionary

“red flags”: “we are calling”; “it is clear to us”; “it is our goal.” This use of the first person conveys

to the reader that the statements contained within the flyer are subjective assessments and not a

recitation of objectively verifiable facts.

29.      The final Ollman factor is closely related to the preceding factor, in that it calls for the

Court to consider whether the tone of the text is in the nature of commentary or “hard” news.

Again, the use of the first person is indicative that this publication would be at home in the Editorial

Section of a newspaper rather than on the front page. No reasonable reader could view the flyer as

“hard” news as the tenor of the text and its stated purpose are not neutral in nature like a news

report, but instead represent a call to action for those who share in Blakemore’s opinion of

Hubbard’s work.

30.      Each of the specific statements Hubbard has identified are protected opinions beyond the

reach of defamation law. When the flyer is viewed in total and with appropriate context, it

represents an expression of Blakemore’s opinions and as such should not be considered defamatory

as a matter of law.

      B.) The distinction Hubbard tries to draw between ‘pedophilia’ and ‘pederasty’ is legally
          meaningless.

31.      Hubbard labors to draw a distinction between “pedophilia” and “pederasty” and in his mind

there may be a clear difference, but his opinion as to how these terms should be defined lends no

weight to his claim that he has been defamed. POC at p. 3. For the general public, the term

“pedophilia” has broader reach than Hubbard would afford it and would encompass sexual

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relations involving minors of any age, as demonstrated below. There is no reason to conclude that

the impact of Blakemore’s flyer that Hubbard claims has harmed him would be any different if the

word “pederasty” had been substituted for “pedophilia” in all instances.

32.    A statement is not defamatory if “the truth about the person would injure their reputation

just as much as the allegedly defamatory statement.” Johnson v. Phillips, 526 S.W.3d 529, 535

(Tex. App.—Houston [1st Dist.] 2017). The truth is that Hubbard has written extensively on the

subject of sexual relations between adults and minors. Within the context of Hubbard’s distinction

between “pedophilia” and “pederasty”, it follows that if his reputation would be injured as much

by use of the term “pederasty” as it would be “pedophilia”, then such a statement is not defamatory

even if the terminology used was technically incorrect (which is denied.) In other words, if all of

Hubbard’s complaints are dismissed and this case boils down to the use of the word “pedophilia”

as a substitute for “pederasty”, Hubbard is still incapable of establishing that such language is

defamatory because the alleged reputational harm would be the same.

33.    To begin, it should be noted that the flyer does refer to the subject of Hubbard’s advocacy

as “pederasty” and then first refers to it as “pedophilia” in a parenthetical, providing readers

unfamiliar with the former term (of which there are likely many) with context in the form of a

more recognizable term that has often been used interchangeably, as noted below. The flyer also

makes reference to “teen boys”, thereby providing readers with appropriate context from which to

conclude that the writings Blakemore objects to are principally (and presumably) focused on

relationships between adult men and adolescent boys.

34.    Nevertheless, it should also be noted that Hubbard’s writings do not clearly delineate

between pederasty and pedophilia based on a specific age or physiological characteristics, as he

does in his petition, a distinction that one would expect would be more clearly made in his writings



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if it held the significance he now assigns it. For example, Hubbard notes in SEXUAL CONSENT AND

THE ADOLESCENT MALE, OR WHAT CAN WE LEARN FROM THE GREEKS that historically the “age of

consent was as low as 10 or 12 in the mostly rural society of early 19th century America.” Exhibit

F at p. 8. He also observes that in Ancient Greece the “boundary line” for what constituted an

“adult” was not set by date of birth, but instead by when a child first “gained enough self-

confidence and savoir faire to himself initiate a relationship.” Id. at p. 5. From the foregoing

statements, and Hubbard’s exhortation that this “flexibility” could “fit the modern world,” it could

reasonably be inferred that Hubbard believes the age of consent should be set as low as 10, or a

more “flexible” approach should be applied in which any minor alleged to have initiated sexual

contact should be deemed an “adult” and capable of consent.

35.        The distinction Hubbard now seeks to draw, which was not clearly communicated in his

own writing, does not comport with common parlance. The term “pedophilia” has frequently been

used by the media to describe sexual relations Hubbard would presumably classify as “pederasty”

based on the age distinction he seeks to draw:

      •    The New York Post referred to a man accused of molesting a 13-year-old as a “prolific
           pedophile” in an April 29, 2020 report 3;

      •    On July 17, 2020, The Times Herald-Record reported on a lawsuit against a “notorious
           pedophile priest” accused of victimizing the plaintiff when he was in the 8th Grade 4;

      •    The UK’s Daily Mail reported on a sting by online “paedophile hunters” who snared a
           Retired Army corporal who “tried to groom [a] ’14-year-old boy” with a “string of
           ‘sexualised’ text messages” in a report published August 25, 2020. 5




3
    https://nypost.com/2020/04/29/prolific-pedophile-priest-dies-in-new-jersey-nursing-home/
4
    https://www.recordonline.com/story/news/2020/01/03/suit-claims-more-abuse-by-late-goshen-priest/111705372/
5
 https://www.dailymail.co.uk/news/article-8662109/Army-corporal-78-snared-paedophile-hunters-tried-groom-14-
year-old-boy.html


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36.       Similar examples of the term “pedophile” being used in the context of accusations

involving post-pubescent adolescents abound. The Court is no doubt familiar with the extensive

coverage of Jeffrey Epstein, the deceased billionaire accused of abusing children between the ages

of 13 and 16 and who is frequently referred to as a “pedophile” in the media, including by the New

York Times. 6 Even the Associated Press, whose style book is relied on by reporters as the Bible

for accuracy in news reporting, has referred to Epstein as a “convicted pedophile.” 7

37.       Perhaps more telling, Hubbard himself has cited publications in his own work that use the

term “pedophilia” in relation to post-pubescent adolescents. In his article INTRODUCTION                   TO

SPECIAL ISSUE      ON   “BOYS’ SEXUALITY     AND   AGE    OF   CONSENT”, Hubbard cites to an article by

Richard Mohr called the “Pedophilia of Everyday Life.” Mohr’s article “makes an evident point

that current social hysteria around pedophilia is matched by an endless eroticization of, and

voyeuristic fascination with, children and teenagers in advertisements, film and news media.”

DOMESTIC           VIOLENCE        AND      SEXUAL        VIOLENCE:         ARTICLE:        TRANSCENDENT

HOMOSEXUALS AND DANGEROUS SEX OFFENDERS: SEXUAL HARM AND FREEDOM IN THE JUDICIAL

IMAGINARY, 17 Duke J. Gender L. & Pol'y 277, 303.

38.       The media routinely uses the term “pedophilia” to refer to sexual relations with a post-

pubescent adolescent. Hubbard’s peers in academia, who he has cited favorably, have also used

the term “pedophilia” without the distinction Hubbard seeks to draw. It is therefore absurd for him

to suggest that he has been defamed on the basis that the term “pederasty” should have been used

in lieu of “pedophilia.” Moreover, the probable effect on the reader of the statements in the flyer




6
  https://www.dailymail.co.uk/news/article-8662109/Army-corporal-78-snared-paedophile-hunters-tried-groom-14-
year-old-boy.html
7
    https://apnews.com/7dc432ef3e1a4d6e80d9bae2f0fbc66c


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is the same regardless of whether it is asserted that Blakemore considers Hubbard’s work as

advocating pedophilia versus pederasty.

39.        In a Dallas Morning News Op-Ed “A UT Professor ‘researches’ pederasty. Why are we

paying for it?”, the paper’s editorial board examined the controversy over Hubbard’s teachings

that is the subject of the flyer. 8 Exhibit H. The newspaper reviewed Hubbard’s article SEXUAL

CONSENT       AND THE     ADOLESCENT MALE,         OR   WHAT WE CAN LEARN            FROM THE     GREEKS. Id. It

concluded, as Blakemore has, that what “Hubbard learned from the Greeks, apparently, is that

society really needs to reconsider age-of-consent laws that are intended to protect children from

sexual predators.” Id. The editorial proceeded to take issue with what it interpreted as Hubbard’s

suggestion that the “problem of boys without fathers in their lives might well be resolved by having

men have sex with those boys.” The article concluded that Hubbard’s “paper urging the unraveling

of age-of-consent laws is a hard read, as slovenly in its scholarship as it is grotesque in its

conclusions.” Id.

40.        The opinions expressed in the Dallas Morning News’ Op-Ed piece mirror the opinions

expressed in Blakemore’s flyer and, just as significantly, demonstrate that it is not Blakemore’s

use of the word “pedophilia” that caused any alleged reputational harm to Hubbard, but his own

writing. In other words, even when the full context of Hubbard’s authorship was examined with

the understanding that Hubbard was writing about “pederasty” and not “pedophilia”, the Dallas




8
    The article was originally titled “A UT Professor Advocates Pedophilia. Why are We Paying for It?”




 The newspaper issued a correction drawing a distinction between pederasty and pedophilia, which is notable not
because this distinction is itself significant, but because the opinions expressed in this article remained unchanged
even after someone (presumably Hubbard) insisted that the term “pederasty” be substituted for “pedophilia.” However,
as noted above, while “pederasty” may have a more limited meaning than “pedophilia”, that does not mean that the
term “pedophilia”, as commonly used, is not broad enough to encompass sexual activity with children 13 and older.

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Morning News’ editorial board still found what Hubbard was saying “grotesque” (or, as

Blakemore characterized it, “disgusting.”)

41.    The Op-Ed concluded by urging students to “do what they are doing” and “make your

voice heard.” That is precisely what the Constitution guarantees that Blakemore has the right to

do, regardless of whether Hubbard or anyone else disagrees with the opinions she has expressed.

The legal system cannot abide the claims Hubbard has brought against her without chilling her

constitutionally protected right of expression. For this reason, Hubbard’s defamation claims should

be dismissed in their entirety and he should be left to defend his teachings in the court of public

opinion.

42.    As a professor, Hubbard should be proud to take ownership of his work and encourage

rigorous debate with those he is charged to educate should they not share his views. This Court

should not judge the content of Hubbard’s work, that is beyond its purview, but should be deeply

troubled by how he handles dissent: not with a reasoned rebuttal, but by filing a lawsuit to stifle a

student’s speech.

                                        IV.     Conclusion

43.    Blakemore enrolled at the University of Texas to receive an education, but the only lesson

Hubbard has taught is that “free speech” is costly when the legal system can be abused in an effort

to bully dissenting opinions into submission. Summary judgment should be granted because

Blakemore’s expression of her opinion is not defamatory as a matter of law and we would

respectfully request that it be granted without the need for further discovery so as to spare this

student from spending funds that would be better spent furthering her education through classes

with professors who respect their students’ right to express themselves.




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                                            Respectfully Submitted,

                                            HOOVER SLOVACEK LLP

                                            //s// Colin L. Guy
                                            Colin L. Guy
                                            Texas State Bar No. 24083118
                                            Galleria Tower II
                                            5051 Westheimer, Suite 1200
                                            Houston, Texas 77056
                                            Tel: (713) 977-8686
                                            Fax: (713) 977-5395
                                            Email: guy@hooverslovacek.com

                                            WRIGHT & GREENHILL, P.C.

                                            //s// Ross Pringle, Jr. (w/permission)
                                            Ross Pringle, Jr.
                                            Texas State Bar No. 16330001
                                            900 Congress Ave., Ste. 500
                                            Austin, TX 78701
                                            Tel: (512) 476-4600
                                            Fax: (512) 476-5382
                                            Email: rpringle@w-g.com

                                            ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of September 2020, a true and correct copy has been
served by electronic service on the following attorneys, pursuant to the Texas Rules of Civil
Procedure.

Geoffrey L. Harrison
Michael C. Kelso
SUSMAN GODFREY LLP
Telephone: (713) 653-7807
Facsimile: (713) 654-6666
gharrison@susmangodfrey.com
MKelso@susmagodfrey.com

ATTORNEYS FOR DEFENDANT

                                                   //s// Colin L. Guy
                                                   Colin L. Guy

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